              Case 3:21-cv-01152-KAD Document 68 Filed 09/29/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

                                                   :
 JAVIER DEL RIO, et al,                            :    CIVIL ACTION NO.: 3:21-cv-01152
                                                   :
                     Plaintiffs,                   :
                                                   :
 v.                                                :
                                                   :    SEPTEMBER 29, 2022
 AMAZON.COM SERVICES, INC. et al,                  :
                                                   :
                     Defendants.                   :
                                                   :

                      NOTICE OF APPEARANCE OF DANIEL B. KLEIN

         Please enter the appearance of Daniel B. Klein on behalf of the Defendants, Amazon.com

Services, Inc., Amazon.com.dedc, LLC, and Amazon.com, Inc. (collectively, “Defendants”), in

the above-captioned matter.


                                                Respectfully submitted,

                                                DEFENDANTS

                                                By its attorneys,

                                                SEYFARTH SHAW LLP

                                                /s/ Daniel B. Klein________
                                                Daniel B. Klein (ct 18934)
                                                Two Seaport Lane, Suite 1200
                                                Boston, MA 02210
                                                Telephone: 617-946-4800
                                                Fax: 617-946-4801
                                                Email: dklein@seyfarth.com



  Dated: September 29, 2022




                                               1
87476958v.1
              Case 3:21-cv-01152-KAD Document 68 Filed 09/29/22 Page 2 of 2




                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 29, 2022, a true copy of the foregoing document was
electronically filed through the Court’s ECF system and will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing and paper copies will be sent to those
indicated as non-registered participants.



                                                              /s/ Daniel B. Klein
                                                              Daniel B. Klein




                                                 2
87476958v.1
